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Exhibit A
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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

JULIE ELLEN WARTLUFT F/K/A JULIE
ELLEN BARTELS AND FREDERICK L.
BARTELS, JR., Individually and as
Administrators of the Estate of Abrielle Kira
Bartels, Deceased

c/o Dilworth Paxson LLP
1500 Market Street, Suite 3500E
Philadelphia, PA 19102,
Plaintiffs,
V.

THE MILTON HERSHEY SCHOOL,
and

THE HERSHEY TRUST COMPANY, AS
TRUSTEE OF THE MILTON HERSHEY
SCHOOL TRUST

Defendants.

 

C.A. NO.::

16-cv-03594-CCC

JURY TRIAL
DEMANDED

AMENDED COMPLAINT

Plaintiffs Julie Ellen Wartluft f/k/a Julie Ellen Bartels and Frederick L.
Bartels, Jr., Individually and as Administrators of the Estate of Abrielle Kira

Bartels, Deceased, by and through their attorneys Dilworth Paxson LLP, bring this

Complaint and aver as follows:

This case involves the tragic death of a 14 year old child, precipitated by
discriminatory practices and mistreatment by administrators at the Milton Hershey

School (“MHS”). Abrielle Kira Bartels (“Abbie”) was a tender and sensitive child

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who thought she had found a home in the protective environment of MHS where
she had lived from age five until a week before her death at the age of 14. Abbie
was an honor roll student, a role model, and was admired and loved by fellow
students and teachers alike. Abbie consistently performed at exceptional academic
levels and by all accounts had a promising future, with a dream of becoming an
FBI agent. But as is not uncommon for girls Abbie’s age — particularly ones with
the risk factors of children enrolled at MHS — Abbie faced some severe but
treatable depression toward the end of eighth grade. MHS medical professionals
began therapeutic intervention.

When it became clear that Abbie suffered from a depressive disorder and
needed more than intermittent help with her suicidal ideation, MHS coldly
embarked on a strategy to terminate Abbie’s enrollment, in direct violation of a
settlement agreement the school previously signed with the United States of
America that prohibited the exact kind of discrimination that the school perpetrated
against Abbie, a vulnerable child with a diagnosed disability under federal law.
MHS’s illegal and heartless strategy of expelling Abbie because of her disability
battered her fragile psyche, erased the progress she had made and hurtled her
towards a tragic end. In a pattern that has become all too frequent at MHS, the first
step was to advise Abbie’s mother that Abbie’s mental health needs were beyond

the scope of MHS programs, despite its mission and $12 billon of resources. The

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second step was to transport her a second time to a mental health facility, alone
enough to justify expulsion under MHS’s apparent two-hospitalization rule. Next,
while Abbie was at this mental health facility for one week in mid-June 2013,
making progress on her own mental health, she was told that she would be
banished from MHS for at least one year and most likely terminated. Finally, on
the day after she was released from the facility, and the day before her hard-earned
MHS eight grade graduation, comprised of event that included a picnic at her
student home with her houseparents and classmates, MHS disinvited Abbie and her
Family from the events. MHS even went so far as to threaten expulsion by
security guards if they set foot on campus. Just when Abbie was regaining her
footing, MHS banished her from her school family of caring adults and close
friends, informing Abbie and her family that she was no longer welcome at her
“home.” The termination was for all intents and purposes complete. Abbie had
done nothing wrong. She was thrown out of her home, barred from graduation and
expelled for a mental health disability (depression), all in violation of federal law.
Despite being one of the children at MHS with the highest social need, Abbie was
terminated by MHS and released back to a poor, unstable and at-risk environment,
contrary to any reasonable treatment of her depression which needed supervised

and controlled — treatment available at the MHS, where she was safe.

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MHS turned its back on Abbie, more concerned about its own image above
Abbie’s well-being, in disregard of the law, its own policies, basic norms for
treating depressed children, and the recommendation of expert psychologists,
including ones on MHS’s staff. This, after more than nine years of near perfect
conduct and academic success, and just shortly after the onset of symptoms. MHS
so callously withdrew its care and support that Abbie’s subsequent despair was
entirely predictable. Worries over suicide were the very reason Abbie was
banished from the School. Two outside professional assessments even warned
MHS that Abbie needed MHS as a beacon of hope for her future in a structured
environment.

MHS took this action knowing that it would intensify her depression, and
increase the risk of self-harm. It took this action when Abbie was at the most
vulnerable point in her life, and in need of a community of support that could not
be provided by her parents, who faced both financial issues and mental health
issues of their own. In fact, MHS recognized Abbie’s chaotic family situation as
her chief stress factor. When MHS had the opportunity to show Abbie that her
“family” would rally around her, that she still belonged to this MHS world, it
instead barred her from graduation and a chance to say goodbye to her closest
friends and houseparents. This made her feel like a stigmatized outsider and

pariah.

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At 14 years of age, on June 29, 2013 (nearly three years to the day of this
filing), Abbie tragically succumbed to her suicidal ideation while still awaiting
word from MHS if she had any hope for a positive outcome, word that never came.
MHS’s behavior was so egregious that it became a factual cause in this totally
preventable tragedy.

PARTIES

1. Julie Ellen Wartluft and Frederick L. Bartels, Jr. are Abbie’s parents.
Julie Ellen Wartluft is an adult female individual, was the mother and natural
guardian of Abbie, and is a citizen of the State of Arizona currently residing in
Cottonwood, Arizona. Frederick L. Bartels, Jr. is an adult male individual, was
the father and natural guardian of Abbie, and is a citizen of the Commonwealth of
Pennsylvania currently residing in Dauphin County, Pennsylvania. Abbie died
intestate in Perry County and her parents, Julie Ellen Wartluft and Frederick L.
Bartels, Jr., have been appointed by the Court of Common Pleas of Perry County
as Administrators of the Estate of Abrielle Kira Bartels, Deceased. The Estate of
Abrielle Kira Bartels, Deceased, Julie Ellen Wartluft and Frederick L. Bartels, Jr.
shall be referred to collectively herein as “Plaintiffs.” Although not formally
named as a party in this case, Karen Fitzpatrick, the former live-in companion of
Plaintiff Frederick L. Bartels, Jr., at all times relevant, acted as another guardian

of Abbie, although not in a legal sense.

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2. Defendants The Milton Hershey School and The Hershey Trust
Company refer to themselves collectively as the “Milton Hershey School and
School Trust,” which they describe as being an integrated tax-exempt
organization composed of a not-for-profit corporation, acting as Manager under
the Deed of Trust, and the Trust itself, filing one Federal Form 990 (hereinafter
referred to as “MHS” or the “School” or the “School Trust” as the context
implies) with its principal address at 711 Crest Lane, Hershey, Pennsylvania
17033. MHS is organized, exists and operates pursuant to and by virtue of the
laws of the Commonwealth of Pennsylvania. MHS operates its residential school
in Dauphin County, Pennsylvania, soliciting students for admission throughout
the Commonwealth, including in Philadelphia County. With approximately $12
billion in assets, MHS is the world’s wealthiest residential school, and serves
children in grades K through 12. Its stated mission is to nurture and educate
children in social and financial need to lead fulfilling and productive lives. The
School Trust was and continues to be a charitable trust qualified under Section
501(c)(3) of the Internal Revenue Code of 1986 with its principal address at
Hershey Trust Company, 100 Mansion East Road, P. O. Box 445, Hershey,
Pennsylvania 17033. The School Trust is organized, exists and operates pursuant
to and by virtue of the laws of the Commonwealth of Pennsylvania and engages in

activity throughout Pennsylvania, including in Philadelphia County. The School

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Trust’s purpose is to maintain “a permanent institution for the residence and
accommodation of poor children .. . and the maintenance, support, and education

. of such children.” The School Trust funds the School, owns a controlling
interest in The Hershey Company, a publicly-traded corporation, and wholly owns
The Hershey Trust Company, its trustee, and the Hershey Entertainment and
Resorts Company (“HERCO”), which oversees resort properties along with an
amusement park called Hersheypark.

3. Defendant The Hershey Trust Company (hereinafter the “Trustee’’)
was and continues to be a Pennsylvania for-profit corporation, with its principal
place of business located at 100 Mansion Road East, in Derry Township, Hershey,
Pennsylvania 17033-0445. The Hershey Trust Company is organized, exists, and
operates pursuant to and by virtue of the laws of the Commonwealth of
Pennsylvania and engages in activity throughout the Commonwealth, including in
Philadelphia County. The Trustee was organized for the purpose of serving as
trustee of the School Trust and continues to serve in this role. The Trustee is
wholly owned by the Milton Hershey School.

4. The School and the Trustee share a self-perpetuating, interlocking
and integrated governance structure. The members of the School’s Board of
Managers are the same persons as the members of the board of directors of the

Trustee. The School’s Board of Managers and the board of directors of the

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Trustee will be collectively referred to herein as the “Trust/School Boards.”
These board members pay themselves extraordinary sums of compensation, from
charitable assets, but have failed in their oversight of MHS policies and have
failed to include within their membership a single residential childcare expert, or
any member with the requisite experience in working with at-risk children.

5. The Trust/School Boards have been put on notice that MHS
teenagers were being expelled for depression and took no action to correct this
illegal activity.

6. All named defendants will be collectively referred to herein as
“Defendants.”

7. At all times relevant hereto, Defendants acted by and through their
agents, servants and employees, each of whom acted within the scope of his or her
job duties.

JURISDICTION AND VENUE

8. This Court has federal question jurisdiction over the subject matter of
Plaintiffs’ claims under the Fair Housing Act (the “FHA”) pursuant to 28 U.S.C. §
1331.

9. This Court has supplemental jurisdiction over Plaintiffs’ state law
claims pursuant to 28 U.S.C. §1367 because those claims are so related to

Plaintiffs’ federal claims that they form part of the same case or controversy.

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10. This action is authorized by 42 U.S.C. § 3613.

1]. Venue is proper in the Middle District of Pennsylvania by virtue of
28 U.S.C. — §1391(b)(1) because The School and the Trustee are entities that
reside in this judicial district, pursuant to 28 U.S.C. §1391(c).

12. According to the MHS website, the School provides a “cost-free,
private, coeducational home and school for children from families of low income,
limited resources, and social need. The School is funded by a trust established by
Milton S. Hershey and his wife Catherine. Milton Hershey School offers a
positive, structured home life year-round and an excellent pre-kindergarten
through 12th grade education.”

13. MHS regularly conducts business in this judicial district in a variety
of ways.

14. The School’s Deed of Trust requires preferential admission to
students born in this judicial district. A true and correct copy of the Deed of Trust
is attached hereto as Exhibit “A.”

15. The Trustee and the Trust/School Boards, by virtue of their self-
described status as organizations “integrated” and “interlocking” with the School,

also regularly engage in the same kind of business in this judicial district.

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FACTS
ABRIELLE KIRA BARTELS, A LOVING AND CARING CHILD
16. Abbie was born on April 13, 1999 and died by suicide on June 29,

2013. She was admitted to MHS on or about April 16, 2004, having just turned
five. During Abbie’s life, her parents struggled with personal and financial
difficulties. Abbie attended, excelled, and thrived at MHS for more than nine
years.

17. Abbie’s tender hearted nature and her integration into MHS can be
gleaned from a sampling of the outpouring of love for Abbie that came
immediately after her death, in the form of online posts from her MHS friends,
family, houseparents, coaches, and teachers:

“Abbie was a person that changed everyone she met in the good way
she was kind and nice person and I wish the story of her did not end
there.”

“Abbie was a member of class of 2017 and she was awesome person
and I knew her since 3“ grade and she was like a family member to a lot of
us at MHS, we _ love you and you’re in our prayers.”

“Abbie was a genuine, loving, and caring child who gave her life to
the spirit of others with a sense of true compassion for what she was
given in her short life ...”

“I was Abbie’s swim coach for two years. She was an absolute joy to
have on our team... she will be missed.”

“T had the pleasure of being Abby’s second grade teacher. She was so
sweet and kind to everyone. She loved to read and write stories. Abbie
had a beautiful smile that would light up the classroom. Rest in peace
my little angel.”

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“T was Abby’s third grade teacher and was immensely blessed to have
known and taught Abby. I learned so much from her gentle spirit.”

“It is hard to imagine how someone that I always viewed as so full of
lifeand light is no longer with us.”

“IT was Abbie’s art teacher in middle school . . . she was smart,
sensitive, caring and creative. Her spirit was admired by classmates and
teachers alike.”

“Abbie, when you came into my life it was like you had always been
there. You bound to my soul immediately. We joked, played and shared
secrets ...I will always love you and protect you. Every moment was a
blessing to me.”

18. Despite her demonstrated social needs, Abbie was a model student
during her nine years at MHS. Indeed, school records demonstrate that Abbie
was a high-achiever and an outgoing and sensitive child. She was also intelligent,
twice named MHS Middle School Student of the Month, was consistently on the
Honor Roll, and maintained the highest levels of conduct, designated as “Spartan”
or “Gold” by the School. Abbie was also an active member of an anti-bullying
group and a member of the swim team. She thrived at the School and had a
promising future.

19. As late as May of 2013, Abbie expressed a desire to attend college
and become an FBI agent, with all signs in her life pointing to achieving vastly
more than her humble beginnings might have predicted.

20. But merely because Abbie suffered a two-month bout of depression,

MHS officials would completely disregard Abbie’s model student standing,

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rupture all her existing social bonds with friends, houseparents, teachers, coaches,
counselors, and other staff, destroy the home she had found at MHS, take away
her entire support structure, banish her from MHS, stigmatize and marginalize
her, and send her back to the very environment from which she had been rescued
at the age of five, in total disregard of her well-being and with completely

predictable results.

THE SPECIAL, CUSTODIAL RELATIONSHIP EXISTING BETWEEN
THE DEFENDANTS AND STUDENTS ENROLLED AT THE SCHOOL

21. MHS is a private residential school for children in financial and
social need from pre-kindergarten through 12th grade. It was tailor-made for
young Abbie, who faced severe financial and social needs at age 5, with a
tumultuous home life.

22. MHS currently enrolls approximately 2,000 students and solicits
applications for admission from children between the ages of 4 and 15.

23. The School spends approximately $100,000 per year per enrolled
student. MHS also provides for up to approximately $80,000 in higher education
benefits to each qualifying graduate.

24. According to the School, its students live “in large, comfortable
homes with 10 to 14 students in their own age group. A pair of married
houseparents oversee each home, providing the structure that children need and

taking an active interest in their development.”

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25. The School also advertises to prospective students and their parents
or guardians that MHS “aims to create a family-like atmosphere for students”
with houseparents and other students becoming a student’s “extended family.”

26. MHS promotional materials represent that, “[o]ur students live at the
School and our program is year-round. So the Student home and houseparents
are at the core of each child’s stability and safety while they are here.” (emphasis
added).

27. Indeed, MHS openly describes itself as “‘a private residential school
with surrogate parenting responsibilities.”

28. Unsettlingly, Abbie’s expulsion and exclusion from the School
occurred just months after MHS had used Abbie’s picture in its marketing
materials, showing her engaged in an extracurricular activity. See p. 3 of the
“MHS Connection” newsletter distributed to parents and sponsors of MHS, a true
and correct copy of which is attached hereto as Exhibit “B.”

29. In court documents recently filed by MHS in the Eastern District of
Pennsylvania (Mother Smith v. MHS), MHS further described the special type of
custodial relationship between the School and its students as follows:

The Milton Hershey School educates children in a
unique, home-like environment. ... the School is

designed and operated to raise and care for children, and
to fulfill a parental role for most of the year.

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[T]he School operates a home-like residential setting in
conjunction with its educational program that is a
fundamental part of its program. Students reside at the
school 24 hours a day, 7 days a week, for most of the
year, living in family style residences. ... students often
also reside at the School for most of the year, not just
during the school year.

See p. 2 and 6-7 of Milton Hershey School’s Answer with Affirmative Defenses to
Amended Complaint and Counter-Claim for Declaratory Judgment in Mother
Smith (E.D. Pa. 11-cv-07391 at Dkt. #10), a true and correct copy of which is
attached hereto as Exhibit “C’.

30. Elsewhere in the same filing, MHS explained the broad scope of
primary and physical custodial contro] it exercises over its enrolled students by
virtue of its status as the students’ primary caregiver, as follows:

[T]he School provides a unique all-encompassing
program for these children, including an education,
housing in a family setting, food, clothing, medical,

dental and psychological care, and_ recreational
opportunities, with no financial obligation to the family.

Id. at 17.

31. Also in those documents, MHS refers to the “comprehensive nature
of the care provided by the School” to students and touts “the unique 24/7
residential nature of its programs and services” as well as its “unique residential
private school setting” that includes “a very closely-knit community” with an

“extended [school] year.” Jd. at 3, 21 and 23.

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32. In connection with a settlement reached in the above-noted
proceeding, MHS confirmed that “it stands ‘in loco parentis’ to all children
attending the School” See § 19 of the ADA Settlement Agreement discussed in
more detail below (emphasis added).

33. The breadth of MHS’s custody over students extends to controlling
both parental visitation schedules at the School and so-called “overnight” visits
taken by students, which are often visits between the students and their natural
parents and/or guardians.

34. Indeed, MHS’s desire to affirmatively undertake its surrogate family
role is so pronounced that it prohibits parent-child interaction during the first
month that a child is enrolled in MHS, even for children as young as four,
working to create a new dynamic.

35. The School monitors and regulates every aspect of children’s lives,
creating a virtual surrogate institutional family. MHS even regulates the love
lives of its students, and requires, among other things, that “Students must be at
least 15 years of age and in Senior Division to begin dating,” and that “[d]ating
arrangement must be set up with and approved by houseparents.”

36. These and other MHS practices illustrate that MHS is deliberate in

its effort to substitute its student home/MHS “school family” for the biological

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families of enrolled students, thereby heightening its own duties to these children,
in good times and bad.

37. Any subsequent removal from MHS is the equivalent of removal
from a child’s natural family, with traumatic consequences greater even in many
cases than the original traumatization of entering MHS.

the united states department of justice recently found that the DEFENDANTS have
discriminated against students with disabilities and otherwise failed to abide by
THE AMERICANS WITH DISABILITIES ACT

38. In or around April of 2011, a 13 year old boy, going by the
pseudonym “Abraham Smith,” sought admission for fall enrollment at the School.

39. At the time he sought admission, Abraham Smith was HIV positive.

40. The School subsequently denied Abraham Smith enrollment based
on the claim that his “documented needs are beyond the scope of the Milton
Hershey School programs,” which, as will be described at length below, is very
similar to the reason given for denying Abbie continued residence at the School
beyond eighth grade.

41. In November of 2011, Abraham’s mother, identified as “Mother
Smith,” filed a complaint captioned Mother Smith, on behalf of herself as parent
and natural guardian on behalf of Abraham Smith v. Milton Hershey School, C.A.
No. 11-CV-07391-CDJ (E.D. Pa.) (the “HIV Case”).

42. Inthe HIV Case, Mother Smith alleged that the School violated Title
III of the Americans with Disabilities Act (the “ADA”), 42 U.S.C. § 12181, et

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seq., and its implementing regulation, 28 C.F.R. Part 36, as well as committed
common law torts, by refusing to consider Abraham Smith for enrollment in the
School due to the fact that he is HIV positive.

43. Subsequently, the United States, through the Department of Justice
(“DOJ”), initiated an investigation, at DJ #202-63-162, of the School’s actions
regarding Abraham Smith, ultimately resulting in a Settlement Agreement
between The United States of America, The Milton Hershey School, and Mother
Smith (on behalf of herself and Abraham Smith) dated September 12, 2012 (the
“ADA Settlement Agreement”). A true and correct copy of the ADA Settlement
Agreement is attached hereto as Exhibit “D.”

44. Asa result of the investigation by the Department of Justice, and as
reflected in the terms of the ADA Settlement Agreement, the United States made
the following key findings:

(1) the School is a covered entity under the ADA, as it operates a
place of public accommodation within the meaning of 42
U.S.C. § 12182(a); is a private entity within the meaning of 42
U.S.C. § 12181(6); and is considered a place of public

accommodation because it affects commerce and is a place of
education within the meaning of 42 U.S.C. § 12181(7);

(2) the School violated the ADA by rejecting Abraham Smith’s
application for admission to the School based on the fact that he
has HIV, hereby denying him the opportunity to participate in
or benefit from the goods, services, facilities, privileges,

advantages, or accommodations of the School, in violation of
42 U.S.C. § 12182 and 28 C.F.R. §§ 36.201 and 36.301; and

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(3)

Id. at Jj 6-22.
45. The

the School discriminated against Mother Smith by denying
Abraham Smith’s application for admission to the School based
on the fact that he has HIV, hereby denying Mother Smith,
among other things, privileges, advantages, accommodations or
other opportunities because of Abraham Smith’s known
disability, in violation of 42 U.S.C. § 12182(b)(1)(E) and 28
C.F.R. §36.205.

ADA Settlement Agreement went on to impose several

continuing obligations on MHS, including the enactment and enforcement of a

non-disclosure and equal opportunity policy applicable to its programs and

services for all students. This policy was required to expressly provide, among

other things that,

(1)

(2)

(3)

Id. at I 23-35,

the School does not discriminate against applicants or students
on the basis of any disability (including but not limited to HIV);

applicants and students with any sort of disabilities have an
equal opportunity to participate in or benefit from the goods,
services, facilities, privileges, advantages, and accommodations
provided by the School; and

the School shall make reasonable modifications to its policies,
practices and procedures when the modifications are necessary
to afford goods, services, facilities, privileges, advantages, or
accommodations to individuals with any sort of disabilities.

46. The ADA Settlement Agreement at paragraph 26 further required the

School to “develop and provide training on title III of the ADA” (a) to all persons

with responsibilities for educating students and/or for providing medical, dental,

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psychological, behavioral, or social work-related care to students; (b) to all
persons involved in the admissions process; and (c) to all School administrators
and officers. /d. at { 26.

47. Finally, the ADA Settlement Agreement at paragraph 43 provided
the United States with the continuing opportunity to review the School’s
compliance with the ADA Settlement Agreement and/or Title HI of the ADA.
Should the School fail to comply, the United States retained the right to initiate an
enforcement action to enforce the ADA Settlement Agreement or Title II of the
ADA. Id. at 443.

48. As required by the ADA Settlement Agreement, MHS has developed
a non-discrimination and equal opportunity policy entitled “Milton Hershey
School (MHS) Student, Applicant and General Public Non-Discrimination and
Equal Opportunity Policy,” Policy No. 2.05.1, effective date December 4, 2012
(the “Equal Opportunity Policy”). A true and correct copy of the Equal
Opportunity Policy is attached hereto as Exhibit “E.”

49. The Equal Opportunity Policy includes the following “Policy
Statement”:

Milton Hershey School (“MHS” or the “Schoo!”) will not
tolerate any form of harassment or discrimination on the
basis of race, color, religion, sex, disability or need for
accommodation, association with or relationship to
person with a disability, or any other class or status

protected under federal, Pennsylvania, or local law

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(collectively “Protected Characteristics”), against any
applicant for admission, enrolled student, or any other
individual(s) who participate(s) in the programs, services,
and activities of the School. ... Individuals protected by
this policy, other than applicants and students, would
include parent/sponsors and visitors touring the School or
attending public events.

This Equal Opportunity Policy (“EO Policy” or “Policy”)
prohibits all forms of discrimination in all programs,
services and activities of the School, including, but not
limited to, admissions, academic and_ educational
programs, other terms, conditions or privileges of
education or enrollment at the School, and all activities
open to the general public.

Id. at 1.

50. The Equal Opportunity Policy goes on, in a section entitled
“Disability Discrimination is Prohibited,” to mandate the following protections
for students enrolled at the School:

The School is committed to preventing discrimination

against persons with disabilities, and complying with the
federal Americans with Disabilities Act (“ADA”) and all

similar Pennsylvania and local laws ... . All applicants
for admission and currently enrolled students with
disabilities ... will have an equal opportunity to

participate in and benefit from all goods, services,
facilities, privileges, advantages, accommodations, or
programs provided by or at MHS.

OK OK
The School will not exclude persons with disabilities ...

from participation in, or deny them the benefits of, the
full and equal enjoyment of its goods, services, facilities,

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privileges, advantages or accommodations on the basis of
their disability.

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Applicants who are otherwise qualified for admission to
the School will not be denied enrollment or have their
enrollment discontinued solely on the basis of their
disability.

OK OK

Applicants and students with disabilities ... have an
equal opportunity to participate in or benefit from the
goods, services, facilities, privileges, advantages, and
accommodations provided by the School.

ok ROK

The School will make reasonable modifications to its
policies, practices, and procedures when the
modifications are necessary to afford goods, services,
programs, facilities, privileges, advantages, or
accommodations to all individuals with disabilities.

Id. at 2-3 (emphasis added.)

51. Pursuant to the ADA, the term “disability” means: “(A) a physical or
mental impairment that substantially limits one or more of the major life activities
of [an] individual; (B) a record of such an impairment; or (C) being regarded as
having such an impairment.” 42 U.S.C. § 12102(a).

52. The ADA defines “mental impairment” to include “[a]ny mental or
psychological disorder, such as ... emotional or mental illness.” 28 C.F.R. §

36.104.

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53. Further, it is well-established that emotional conditions such as
anxiety and depression are disabilities included within the meaning of “disability”
under the ADA.

54. Thus, one of the things that the Defendants promised (through the
ADA Settlement Agreement and the Equal Opportunity Policy) to root out and
eliminate from the School was discrimination based on emotional or mental
illnesses, including anxiety and depression. Abbie’s treatment at the hands of
MHS will demonstrate that illegal discrimination at MHS continues in the mental
health arena.

55. However, despite (a) the prior finding of discrimination by MHS
against a disabled student; (b) the repeated promises made by MHS to the United
States in the ADA Settlement Agreement; and (c) the clear requirements of
MHS’s own Equal Opportunity Policy designed to prevent future instances of
discrimination, upon information and belief, Defendants refused to implement or
inadequately implemented, among others things, (1) safeguards to prevent
discrimination against students suffering from emotional or mental illnesses,
including anxiety and depression; or (2) any type of reasonable modifications to
afford goods, services, programs, facilities, privileges, advantages, or
accommodations to students suffering from emotional or mental illnesses,

including anxiety and depression.

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56. Despite the promises made and stated intentions of the School in the
ADA Settlement Agreement and the Equal Opportunity Policy, the Defendants
have failed to follow their own directives when caring for Abbie, who MHS knew
suffered from a diagnosed form of depression, resulting in acts of discrimination
against Abbie on account of her disability which, ultimately, was a factual cause
of Abbie’s devastating and tragic death.

57. Indeed, and notwithstanding the DOJ’s prior investigation, the ADA
Settlement Agreement and the Equal Opportunity Policy, the DOJ is currently
pursuing another investigation into whether the School is compliant with the
ADA and the Fair Housing Act, which has been ongoing for more than a year —
the second such investigation in four years.

ABBIE ENROLLS AT MHS AT FIVE YEARS OF AGE WITH

DEMONSTRATED SOCIAL NEEDS AND FOR THE NEXT NINE YEARS
IS A MODEL STUDENT

58. Abbie was considered for enrollment at the School in April of 2004,
around the time of her fifth birthday.

59. When she applied for admission to MHS, Abbie had great social
needs related to her family structure and home life.

60. Among other things, MHS’s pre-enrollment interview notes stated
that Abbie’s immediate family members suffered from severe mental health

problems, including her mother (depression and attention deficit disorder),

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paternal grandmother (schizophrenia and depression) and maternal grandmother
(depression). These notes also indicated that Abbie’s mother struggled with
drugs, whose side effects had caused cerebral damage that left her unable to
adequately fulfill her parental responsibility.

61. Abbie’s enrollment process also included a series of tests, an
interview, and several meetings between Abbie’s family and MHS administrators.

62. Due to this extensive examination and review, Defendants were fully
aware of Abbie’s social needs and family mental health issues when MHS
admitted her as a student in April of 2004. Based on this family history, MHS
knew or should have known that there was a high degree of risk that she would
exhibit symptoms of depression during her time at MHS. Abbie’s parents were
not advised that: (a) if she began to exhibit such symptoms, there existed a high
likelihood of expulsion, regardless of her thriving at MHS prior to such time; or
(b) MHS was not able to care for children with depressive disorders.

PRIOR TO ABBIE’S DEATH, THE DEFENDANTS MAKE SEVERAL

IMPORTANT REPRESENTATIONS TO ABBIE, THE PLAINTIFFS, AND
MS. FITZPATRICK

63. In early 2013, the Defendants made numerous representations
regarding their supposed compliance with the ADA, commitment to non-
discrimination and accommodating students with disabilities, and comprehensive

array of mental health services available to their students.

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64. Related to compliance, the Equal Opportunity Policy — which was
drafted as result of the stipulated finding in the ADA Settlement Agreement that
MHS had committed blatant acts of discrimination — was sent to the Plaintiffs on
March 25, 2013, along with an accompanying letter explaining what the
document meant. A true and correct copy of the March 25, 2013 letter is attached
hereto as Exhibit “F.”

65. That letter stated, among other things, that “[o]ver the next several
weeks, our entire faculty and staff will receive mandatory comprehensive training
on ... Title HI of the Americans with Disabilities Act. The mandatory training
will also include review of this policy.”

66. While Abbie was enrolled at the School, Plaintiffs also received a
copy of the MHS Student/Sponsor Handbook (the “Handbook”); a true and
correct copy of which is attached hereto as Exhibit “G”, which also contains a
copy of the Equal Opportunity Policy.

67. Also included in the Handbook at page 70 is an additional section
entitled “ADA Accommodation Procedures for Applicant and Students.” As it
relates to current students, those procedures provide that MHS will develop and
implement individualized plans for disabled students to ensure that MHS is able

to accommodate those students at the School. Individualized plans dealing with

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mental health issues are to be managed by a Psychological Services
Administrator. /d. at 46.

68. Further, the Handbook discusses the several psychological services
available to students and represents that “Psychological Services offers a
comprehensive array of services, which includes individual and group therapy,
psychological and psychoeducational assessments, consultation, staff training,
crisis intervention and prevention. The type of psychological service provided
for a student is dependent on the individual student’s need.” Jd. at 46 (emphasis
added.)

MHS IS AWARE THAT ABBIE’S EMOTIONAL WELL-BEING BEGINS
TO DETERIORATE TOWARD THE LATTER PART OF EIGHTH
GRADE, AND PARTICULARLY DURING MAY AND JUNE OF 2013

69. Abbie began eighth grade at MHS in August of 2012.

70. Toward the end of that school year, Abbie’s emotional well-being
deteriorated as she was subjected to several incidents of bullying by her
housemates.

71. Also in the spring of 2013, Abbie endured the stress of knowing that

her father, a very important figure in her life, was going to be jailed for a second

DUI offense.

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72. Abbie’s emotional well-being was particularly damaged when a
manipulative transferee from another student home, “M,”! arrived to live in
Abbie’s group home, around March of 2013. M had difficulties at her previous
student home and soon after her arrival, M falsely accused Abbie of making a
series of physical threats against M.

73. Although these accusations were eventually determined to be
unfounded and false (with M again being disciplined accordingly), the relief
houseparents filling in for Abbie’s regular houseparents at that time initially sided
with M, and the purported threats were reported to the MHS administration.

74. The reporting of these threats resulted in Abbie being disciplined,
snatched from her student home, and involuntarily committed to the MHS Health
Center, an on campus hospital-type facility on April 25, 2013.

75. The sequence of these grossly unfair decisions had a profoundly
disturbing impact on a child whose sterling reputation and concern for everyone
around her was preeminent to her and well-known to all. She could not fathom
why her denials would not be believed.

76. After being subjected to this mistreatment in a manner that strained

Abbie’s vulnerable psyche, Abbie was released the next day, but then placed back

 

The identity of this individual has been protected because she is a minor. Her name is known to the

Defendants.

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in the Health Center later that day for “having problems coping with
surroundings,” and released on the 27th.

77. On April 27, the MHS psychologist monitoring Abbie, Benjamin
Herr, M.D. (“Dr. Herr”) learned from a housemate of Abbie’s that she allegedly
expressed a desire to kill herself the previous day. When questioned, Abbie
denied that she had any plan to hurt herself.

78. Abbie was next admitted to the Health Center on May 1, 2013, for an
overnight observation, after Abbie disclosed to her houseparents that she wanted
to hurt herself. At the time of her admission, Abbie disclosed that she had cut
herself with a rock the previous night, as evidenced by superficial scratches on her
arm, and that she had thoughts about wanting to die. Abbie, now 14 years of age,
further noted that she was 11 when she first thought about killing herself, but that
those thoughts had subsided over time as she was able to gain control over her
thoughts and behaviors on her own.

79. Abbie underwent a psychological exam at the School on May 2,
2013. During that exam, Abbie indicated that the “issue upsetting her is
information her mother delivered on Saturday (4-27) about her father, whose
alcoholism is causing him to lose his job, and his wife [companion] is planning to
dismiss him from the house. Mom reported that she may remove him from

visitation list, so she would not be able to see him anymore. This is her true

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concern and pushed her to HSSIB, sadness and depression.” Thus, MHS had its
first warning that Abbie’s home life in Newport, Pennsylvania was unstable and
causing her tremendous anxiety, among the reasons she was enrolled in the
School in the first place.

80. Ata weekly counseling session with Dr. Herr on May 6, 2013, Abbie
“expressed sadness and anger at father about alcohol abuse, and reported he will
have to serve jail time this summer for multiple DUI charges.”

81. At the next session on May 16, most of the time was “spent

>

discussing concerns about her Dad and his alcohol use.” Abbie also expressed
that she was “anxious and uncomfortable” with the plan to visit her father’s house
that upcoming weekend due to tensions between Ms. Fitzpatrick (identified in the
records as Abbie’s “s/mo” or stepmother) and her father, and Abbie’s concerns
that “tensions will flare.” Dr. Herr notes that Abbie “[a]ppeared stable, but
internalizing, which likely increases the risk for her to struggle with managing

bi

emotional pain effectively.” MHS was thus by now clearly alerted to the volatile
environment of Abbie’s home life, to such an extent that Abbie preferred staying
at MHS over spending a weekend visiting her family.

82. On Monday, May 20, 2013, Abbie recounted to Dr. Herr a weekend
kayaking trip with her mother, father, and Ms. Fitzpatrick. Abbie told Dr. Herr

that her father was drunk, which caused her great distress. Further, “Abbie

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reported experiencing suicidal thoughts, urges, thinking ‘what’s the point in
living?’” Dr. Herr noted that he emailed Abbie’s houseparents to “follow her
closely” and disclosed his concern.

83. The following day, May 21, Abbie was admitted again to the Health
Center under close observation after she reported experiencing suicidal ideations
for the last several nights when lying in bed. During that admission, Abbie
described to MHS staff that she was thinking of various methods of suicide.
Abbie further disclosed to staff that she previously duct-taped a pillow to her face
during an apparent half-hearted suicide attempt while in seventh grade. Finally,
Abbie reported being very distressed about the problems in her family.

84. When asked by Dr. Herr what specifically caused the recent suicidal
ideations, Abbie first response was “Dad’s alcoholism, [and] the family that I
have (they are all split apart, and hardly have enough money to take care of

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themselves). . .”. MHS was thus warned not only of the unstable and chaotic
nature of Abbie’s life away from MHS, but that another stressor was her parents’
lack of financial stability and inability to take care of themselves, let alone Abbie.
These feelings of perceived burdensomeness were another warning sign of
suicide.

85. On May 22nd, Dr. Herr learned from Abbie that she had significant

urges to commit suicide (that she rates as a “10 out of 10”) the previous night that

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she overcame. The cause of these urges appeared to be a difficult call Abbie had
with her mother, a call in which Abbie felt that her mother was rejecting her. Ina
self-report filled out by Abbie on May 22nd, she checked blocks for “I am not
sure if | am important to my family,” and “I am not sure if anybody loves me.”

86. On May 23rd, Dr. Herr learned that Abbie’s suicidal urges had
abated and were a “5 out of 10.” Dr. Herr’s notes also reflect that Abbie “is
certain she does not want to go home this weekend. She does not want to be
around family anymore because they are unpredictable and confusing; reported a
firm desire to remain at and graduate from MHS.” In other words, Abbie
understood that MHS was her safe haven, where she felt she belonged and was
not a burden, and what she needed for a positive future.

87. Discharged from the Health Center early on May 23, 2013, Abbie
was readmitted to the Health Center that evening, after she reported thoughts of
self-harm and suicidal ideation. During her stay, Abbie disclosed that the trigger
for her distress was seeing happy photos of her family. After expressing a desire
to return to her student home, Abbie was discharged on May 24", after the family
pictures were removed. Although the following day was the beginning of
Memorial Day weekend, when many students leave MHS for overnight visits with

parents, Abbie indicated that she would prefer to stay at MHS for the holiday.

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88. During a May 28 session with Dr. Herr, Abbie confirmed that her
difficulties the previous week related to seeing pictures of her family during
happier times. Abbie told Dr. Herr that she had substantial negative feelings and
anxiety about going home, connected to two main thoughts: “What if my Dad and
s/mo conflict, and she kicks him out/makes him go to rehab?” and “My brother is
sad all the time, and has no future.” Abbie further disclosed that over the past
weekend she experienced urges of a level “9” to kill herself. Dr. Herr judged
Abbie’s level of risk to be unacceptably high and determined that hospitalization
at a mental health facility was warranted.

89. From May 28, 2013 to June 5, Abbie was a patient at Philhaven, an
independent mental and behavioral health care center off campus. While at
Philhaven, Abbie and Dr. Herr continued their therapy sessions. On May 29, Dr.
Herr met with Abbie, her mother, father, and Ms. Fitzpatrick. During that
meeting, Abbie stated that she is sometimes angry at her father because of his
drinking, history of drug and alcohol use, and legal violations. Dr. Herr advised
that Abbie tends to avoid and minimize painful feelings, struggles articulating
them, and is upset about issues in the family that may not have bothered her in the
past. Ms. Fitzpatrick acknowledged that she had some very volatile exchanges
with Abbie’s father over the past 6 months. In another family session on May 31,

Abbie stated that her chief emotional struggle is anger at the family situation and

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circumstance, with her father’s alcoholism as the chief concern. Dr. Herr noted
that Abbie was angry, hurt, and apprehensive about her dawning awareness of the
reality that her father continues to drink despite the pain this causes others,
including her. In subsequent sessions on June 4th and 5th, Abbie confirmed that
her father’s alcoholism is probably what bothered her the most, and that tensions
between her father and Ms. Fitzpatrick were very distressing to her as well.
Abbie was discharged from Philhaven on June 5, 2013 and returned to the MHS
Health Center the same day.

90. The discharge instructions from Philhaven note the following key
facts regarding Abbie’s then-existing mental state and the following
recommendations:

(1) Abbie was diagnosed with acute symptoms of major depressive
disorder, recurrent, severe, without psychotic-features;

(2) Problems with Abbie’s primary support group, social
environment, and other psychological and environmental
problems are the major life events affecting her mental health
diagnosis and treatment;

(3) Abbie is currently better able to manage depressive thoughts,
but would benefit from continued support in this area;

(4) She “is recommended to receive aftercare in the supportive
environment of in the structured support of returning to Milton
Hershey School;”

(5) “It is recommended that she develop a safety/support plan with
Milton Hershey School Therapist and staff;”

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(6) “It is recommended that the support plan include weekly
therapy sessions; weekly check-ins with house parents and the
therapist or other identified support staff;” and

(7) It is further recommended that Abbie return to medication
management with a psychiatrist; and that she participates in a
community/school service or organization, i.e., church youth
group, school programs (sports, clubs, assisting a teacher, etc.)
“to help build her sense of belonging to a community and
strengthen her self-esteem. Without this level of care, it is
possible she could decompensate and require future
hospitalization.”

A true and correct copy of the Philhaven discharge instructions are attached hereto
as Exhibit “H.” Philhaven professionals saw MHS as a critical component of her
therapeutic recovery.

91. Abbie was discharged back to her student home on June 6th. During
a session with Dr. Herr on June Sth, Abbie reiterated that family stressors had
influenced her to consider suicide; however, she expressed a strong desire to
attend school the following day. In another session with Dr. Herr on June 6th,
Abbie reported that she told her mother that she would prefer day visits, rather
than coming home for entire weekends.

92. On June 7, 2013, Abbie was readmitted to the Health Center,
reporting an urge-to-die rating of “9” and a self-injure rating of “7.” Abbie stayed
in the Health Center through June 11, but was allowed to leave for weekend day
visits with her mother on both June 8th and 9th. MHS records indicated that these

visits were largely negative. Abbie’s mother and Ms. Fitzpatrick were both

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intoxicated, and Abbie was troubled by her oldest brother’s behavior. Abbie also
saw a former romantic partner of her mother’s whom Abbie does not like. In
sessions at the Health Center, Abbie reported to MHS staff that she had many
negative thoughts about her family situation, including concerns about her father
potentially dying of alcoholism and financial worries involving fears that her
family would lose their housing.

93. As aresult of Abbie’s mental state, on June 10, 2013, Dr. Herr and
other clinicians at MHS determined that Abbie should be readmitted to either
Philhaven or Pennsylvania Psychiatric Institute (“PPI”) as soon as a bed could be
secured. Dr. Herr referred Abbie for a psychiatric evaluation by other MHS staff.

94. The results of that psychiatric evaluation were as follows:

(1) Abbie disclosed that recent weekend visits to her home did not
go well and that Abbie perceived that her family seemed to
make light of her father’s serious problems with alcohol;

(2) Abbie is highly preoccupied with the health and well-being of
her father, who lost his job due to his alcohol use and has been
having increasing problems with Ms. Fitzpatrick, with Abbie
fearing he will get kicked out of home. Abbie’s biggest worry
is her father’s drinking and her belief that he could be dying
from it. Abbie also worries about her parents losing their
money due to loss of jobs, is concerned about father’s
upcoming jail sentence for DUI conviction and indicated that
Ms. Fitzpatrick previously tried to overdose and was
hospitalized;

(3) Fighting between her father and Ms. Fitzpatrick prompted
Abbie’s suicide attempt involving duct taping a pillow to her
face;

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95.

Abbie:

(4)

(5)

(6)

Abbie’s father is her favorite person, but Abbie is saddened that
he is “careless” about his life and does not understand how it
affects others. He is not available to Abbie, either physically or
emotionally;

Abbie does not display any signs of thought disorder, but her
mood was one of obvious sadness and anxiety with long-
standing difficulties with sadness and depression that tends to
come and go, but are sometimes quite extreme, coupled with
some feelings of hopelessness and helplessness about the
future; and

In spite of all her current emotional and mental issues, Abbie
remains motivated to get help for her difficulties and is
committed to coming back to School next year and graduating.

The psychiatric evaluation included the following diagnosis for

Struggles with depressive symptomatology, chronic
underlying depression consistent with dysthymis;”
periods of acute exacerbation of her symptoms with
suicidal urges and history of an attempt. Of concern is
she kept this secret for some time. Difficult to tease out
whether persistence of depression symptomatology has
anything to do with meds since only recently started, or
whether related to persistent sadness that she experiences
surrounding her family turmoil. She experienced loss of
relationships at school and impending loss of
H[ouse]P[arent]s. Unfortunately, she does not
experience a sense of stability in either relationship with
her parents. At risk of mood difficulties given family
history.

Recommendation: Readmit to hospital for additional
support and stabilization. Efficiency of meds will need
to be evaluated.

 

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According to the diagnosis manual DSM-IV's definition of dysthymia, it is a serious state of chronic

depression, which persists for at least 2 years (1 year for children and adolescents) and which is less acute and
severe than major depressive disorder.

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96. A bed was secured for Abbie at PPI on June 11, 2013. Abbie
remained at PPI for nine days, through June 19th. Abbie underwent additional
psychotherapy at PPI and her medications were changed from 10 mg of Prozac to
50 mg of Zoloft.

97. Dr. Herr, in stark contrast to his hands-on approach of intensive
counseling when Abbie was at Philhaven, took a passive role in Abbie’s treatment
during her time at PPI. Indeed, Dr. Herr admits that he was “less directly
involved in her treatment from that point, as MHS staff agreed that Abbie could
not immediately return to MHS after this second hospitalization.”

98. In other words, MHS had already decided before June 11 that when
presented with two choices for Abbie - the supportive and stable environment of
MHS, or a chaotic, sometimes volatile, and financially unstable home life, which
had her on the brink of suicide, MHS would wash its hands of Abbie and consign
her to instability, chaos, and increased likelihood of suicide.

99. MHS professionals ostensibly serving in therapeutic roles were very
cautious about not presenting MHS as Abbie’s protector, or even her future
caregiver, as they had been conditioned to favor hasty and MHS image-preserving
expulsion rather than continued enrollment, accommodations and attention to

Abbie’s mental health needs.

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100. Despite Abbie’s many desperate pleas for help from MHS in dealing
with her worrisome home life, what was lacking from MHS was any assurance to
Abbie not to worry, that MHS would always be there for her, or that MHS truly
was, as advertised, an “extended family” that would not abandon her and that
would care for her and see her through her crisis in a stable environment.

INSTEAD OF RETURNING ABBIE TO THE PROTECTIVE
ENVIRONMENT OF THE SCHOOL, MHS WILLFULLY SENDS ABBIE
TO THE WORST OF ALL POSSIBLE ENVIRONMENTS, HER CHAOTIC

FAMILY, WHERE MHS KNOWS ABBIE EXPERIENCES UNDUE
STRESS WITH WHICH SHE CANNOT COPE

101. Despite knowing of Abbie’s mental anguish and suicidal ideations
caused by concerns regarding her family — which was constantly identified by
MHS clinicians as Abbie’s most serious stressors - MHS nonetheless did not
invite Abbie back to the School on June 19 for further treatment and observation
at MHS, despite those accommodations being available. Instead, MHS directed
that Abbie be discharged from PPI back to a chaotic family environment, with no
special instructions or warnings.

102. Although the MHS academic year was ending on June 21, 2013,
MHS had programs that could have provided care for Abbie in a structured, stable
environment over the summer months. Among other things, MHS could have

invited Abbie to participate in the so-called “Year Round Experience” or “YRE.”

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103. The Handbook contains a number of representations related to the

YRE, pursuant to which students may remain on the MHS campus after the end of

the academic year, as follows:

(1)

(2)

(3)

“The school has four Vacation Breaks during the academic year
when children are free to leave campus for visitation or remain
on campus for MHS’s excellent Year Round Experience
programs”;

“During the summer, several therapeutic camps designed to
build social and emotional skills are offered by Behavioral
Services through the Year Round Experience (YRE). Behavior
Services also staffs the Crisis Intervention Team and provides
behavioral support to students struggling within the regular
YRE environment’; and

“The Year Round Experiences Program (YRE) is an extension
of the MHS belief that learning is a year-round experience and
that activities for student growth do not stop at the end of a
school day. ... Any student who remains on campus during
Summer Break must be registered and participate in available
YRE programming.”

Ex. H at 2, 38, and 68 (emphasis added.)

104. Additional promotional material made available to students and

parents extoll the virtues of YRE as a way “to escape” students’ home situation,

where MHS helps students “realize that there are people who care.” Testimonials

further describe YRE as “its’ own family. We are so close knit here; more than

most places. I wouldn’t rather be anywhere else. This is where the heart is.” A

true and correct copy of these materials is attached hereto as Exhibit “I.”

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105. The option of YRE or therapeutic summer camp was never presented
to either Abbie or her parents after her release from PPI, despite the availability of
this seemingly ideal opportunity for Abbie to remain at the one place where she
felt connected and belonging. Nor did MHS explore other ways in which Abbie
could remain at the School following her hospitalization or implement the type of
safety and support plan recommended by Philhaven. No MHS social worker or
therapist was assigned to make sure Abbie would get the treatment she needed for
continued care and survival.

106. Nota single precaution of any kind was taken. Indeed, MHS would
next take affirmative steps to heighten Abbie’s pain, worsen her psychological
condition, and push her even further down the road to suicide.

107. MHS’s sudden and dramatic shift to a complete “hands off”
approach to Abbie’s care around the time she was admitted to PPI, in contrast to
the several prior weeks of intensive management of her mental and emotional
state, can be explained by the fact that MHS had already made the decision that
Abbie would not be permitted to return to the School, merely because of her
known disability and despite her otherwise being a model student with an
unblemished record.

IN JUNE OF 2013, MHS WAS FOLLOWING A “SHADOW POLICY” TO

FORCE ABBIE’S EXPULSION FROM THE SCHOOL ON ACCOUNT OF
HER MENTAL AND EMOTIONAL DISABILITIES, IN

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CONTRAVENTION OF THE EQUAL OPPORTUNITY POLICY AND
THE ADA

108. Although the Equal Opportunity Policy, as discussed at length above,
broadly prohibits all forms of discrimination against students with “disabilities” as
that term is defined by the ADA, in June of 2013 MHS was abiding by another
“policy,” official or unofficial. This other “shadow policy” robotically mandated
that a student be expelled after two hospitalizations in outside mental health
facilities, and with the hospitalization decisions in the first instance being
recommended by MHS staff.

109. Such a consequence is not provided for in the Equal Opportunity
Policy and flies in the face of its requirements and ADA strictures requiring that
students with disabilities be treated fairly with individualized assessments.
Indeed, the shadow “policy” actually has the perverse effect of discouraging
students who are suffering from mental or emotional injuries from seeking help in
the first place, for fear that doing so might lead to brief hospitalizations and a
subsequent quick ticket out of MHS.

110. This is an irrational, anti-child policy for dealing with children who
are mature enough to recognize their own depression and seek help for it, but who
are equally cognizant of the expulsion hanging over their heads, in the event that

they might just need hospitalization.

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111. MHS applies the mechanical “two-institutionalization” rule: (a)
without regard to the therapeutic results of the second hospitalization; (b) without
consultation with the institution’s care-providers; (c) without any further analysis
of the mental health of the child and accommodations that could be made; and (d)
without any analysis of the consequences to the child of termination from MHS,
the one stable and nurturing environment that many MHS children have had in
their short lives.

112. Upon information and belief, the shadow policy had other aspects to
it that were so well established and accepted by MHS that they was openly
discussed at MHS Board meetings. During a Board meeting that occurred in or
around 2010, there was a topic of discussion related to the decision to terminate a
student because she had suicidal ideations. When one Board member questioned
the decision, a senior MHS official stated words to the effect that MHS did not
want the publicity of someone killing themselves at MHS. Because the student in
question expressed a desire to kill herself, she would be terminated. Thus, a
policy was institutionalized at the highest level.

113. Abbie was loved by her MHS houseparents and teachers, and had
strong connections to her housemates. She had consistently expressed a strong
desire to remain at MHS, as she saw this as the one circumstance in her life that

gave her hope for her future. One reason for this was assistance with higher

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education costs, to allow her to reach her dream of being an FBI agent, knowing
that her parents had no financial resources to assist her.

114. Dr. Herr first disclosed the automatic expulsion “policy” to Abbie’s
mother immediately before Abbie was placed in PPI, and reiterated it to Abbie’s
mother on multiple occasions during Abbie’s second hospitalization. Dr. Herr
indicated that while a leave of absence (an “LOA”) was a possibility in lieu of
expulsion, the senior division staff (and not Dr. Herr) would ultimately make the
decision. Abbie’s mother readily recognized (and responded at the time) that the
“policy” was discriminatory. When Dr. Herr shared the “policy” with Abbie, she
was devastated, terrified of being thrown out, and burst into tears.

115. When Abbie’s attending psychiatrist at PPI was told of the chilling
“policy” and likelihood of expulsion, she expressed grave concern to Dr. Herr
about the possibility that Abbie would lose her MHS enrollment and stated that
she wanted Abbie to have hope for her future.

116. Thus, MHS had now been advised or warned by professionals at both
mental health institutions that a removal from the structured environment of MHS
could have dire consequences for Abbie.

117. But the decision about a child’s life and well-being would not be
made by bona fide child psychologists or others who put Abbie first. Instead,

Abbie’s future would rest in the hands of “administrators” with histories of fear,

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ignorance and elevation of image over childrens’ well-being when it came to
reviewing mental health issues.

118. On June 19, 2013, on the same day Abbie was released from PPI, Dr.
Herr communicated to Abbie’s mother that “there is a significant likelihood that
the LOA will not be approved” and that Abbie will be expelled from MHS. He
also advised Abbie that it was uncertain whether she would ever be permitted to
return to MHS.

119. Just when Abbie needed support to “build her sense of belonging”
and “strengthen her self-esteem,” most, MHS negligently, callously, and
irreparably harmed her in both regards, by brutally cutting her off from the only
community she knew, the only one in which she felt comfortable and a sense of
belonging, and the one upon which she depended for her self-esteem.

IN FURTHERANCE OF THE “SHADOW POLICY” OBJECTIVE OF
ELIMINATING ABBIE FROM THE SCHOOL, MHS CALLOUSLY BARS
ABBIE FROM HER EIGHT GRADE GRADUATION CEREMONY AND

FROM A GRADUATION PARTY HOSTED BY ABBIE’S
HOUSEPARENTS

120. MHS sent letters home inviting Abbie and her family to MHS eighth
grade graduation ceremonies. These were scheduled for June 21, 2013 and were
an extremely important event for children enrolled at MHS. Abbie’s
houseparents also called to invite Abbie and her family to a post-graduation

barbeque at her student home.

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121. Abbie qualified for the graduation ceremony and was excited about
participating and attending the picnic. She looked forward to seeing good friends
from her student home that she had not been able to bond with at the end of eighth
grade, due to her treatment at the MHS Health Center, Philhaven, and PPI.

122. While at PPI, in preparation for her eighth grade graduation, Abbie
designed cards to hand-deliver on graduation day to her houseparents, their
children, and her classmates. In these notes, Abbie apologized for missing school
time at the student home and expressed hope for the future, sensitively and
lovingly thinking of other children first. Abbie knew that in 9th Grade the girls
would be split up and sent to new student homes, and thus would not be living
together again, and that this would be her last chance to see them all together. A
true and correct copy of those cards is attached hereto as Exhibit “J.” When
Abbie wrote the cards, the School had apparently just advised Abbie’s mother that
the “policy” required, at a minimum, that Abbie not return for 9th Grade. So
Abbie wishfully remarked in the cards that “I might be able to come back in 10th

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grade;” “stay happy and helpful, I will too;” “I cry thinking about leaving MHS
and all of you;” “all of you are like my family, I miss you all and hate leaving
you,” and “keep going Facebook so we can keep in touch.”

123. Abbie had teetered on the precipice of suicide for several weeks now,

as explained in a diary entry of June 1, 2013, written while at Philhaven: “one

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second I was thinking how good everything is and now I am thinking that there is
no point in life.” The very next day she wrote, “I just want to get out of here and
catch up on school work.” While at PPI, on or about June 13, in response to an
exercise to list “positive things about my life,” in a sign of recovery, she lists “I’m
pretty, I am creative, Independent, smart, Sensitive, Awesome, Good sense of
humor, strong.”

124. At the very same time that Abbie was making progress with her
mental health at PPI, MHS advised her that an “enrollment review” (known as a
precursor to expulsion) was being conducted to decide her fate. In light of this
reality, on June 14, 2013, Abbie knew her likely fate and wrote in her diary,
“People are having a whole meeting about me. I feel so special,” and then
ominously added, “They are also deciding my future . .. Whatever the decision is
Pll have to take it . . . everything turns out ok, and everything happens for a
reason.”

125. An MHS “Enrollment Review” is a misnomer. Specifically, it never
deals with enrollment, but instead, it is only used to pursue expulsions; i.e., when
MHS is getting ready to send a child away, the administrators circle up in a
proceeding that they euphemistically call an “Enrollment Review.”

126. MHS children are not permitted to attend, speak at, or be represented

at their Enrollment Reviews. Parents and guardians are similarly excluded. There

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are no means of providing evidence, arguments, or pleas on behalf of children
who are subjected to these sham proceedings. Thus, there is no due process of
any kind.

127. MHS makes no account of the proceeding to provide to students or
their guardians, and there is no right of appeal whatsoever.

128. In sum, the entire Enrollment Review proceeding, with its near-
inevitable result in most cases, is itself an affront to child welfare, due process and
ADA norms.

129. This chilling process was being pursued despite signs of Abbie’s
improved mental health at PPI. On June 17, 2013, she sadly wrote: “I want to get
really long hugs from my parents to know they love me. I wish no one in my
family had been in jail or did drugs or was an alcoholic.” That same day, Abbie
expressed optimism: “I am starting a whole new chapter in my life, it will be an
adventure I will fulfill. I want to see [what] happens how it turns out and I will. |
got to stop worrying and let what happens happen.” She then notes she has letters
to write for her houseparents, their children and her classmates that she will
deliver at graduation in a few days.

130. But this was not to be as MHS then delivered the final and fatal blow
with a phone call on June 20, 2013. This came one day before graduation, and

just one day after Abbie’s release from PPI, telling Abbie’s mother that: (1) Abbie

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could not attend her graduation; (ii) Abbie could not attend her houseparents’
barbeque, i.e., that both invitations were revoked; (111) Abbie could not set foot on
MHS campus on that day, and if she tried she would be turned away and denied
entry; (iv) Abbie was a danger to other children; (v) Abbie could not attend 9th
Grade at MHS; and (vi) the School will decide if it would even give consideration
to allowing her to re-enroll after 9th Grade under certain strict conditions, at least
one of which would be near impossible to meet.

131. Despite the desperate pleas of Abbie’s mother to let Abbie attend the
graduation ceremony and barbeque, and despite the fact that MHS knew that
Abbie was in a fragile emotional state only one day removed from PPI, MHS
heartlessly, negligently, and recklessly refused to reconsider, or apply ADA-
mandated standards. When her mother pleaded that the administrators have a
heart, they robotically answered that “being at MHS is a privilege, not a right.”

132. The only MHS employees to show a modicum of compassion were
Abbie’s houseparents and Dr. Herr. All three disagreed with MHS administrators
on barring Abbie from her graduation. Dr. Herr knew Abbie was not a threat,
knew she had worked hard toward graduation, and knew it was very important for
Abbie’s mental well-being that she be allowed to attend and thereby preserve
some shred of this child’s dignity and self-esteem. Dr. Herr later became very

emotional and actually cried on the phone to Abbie’s mother that MHS owed her

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an apology for how Abbie was treated. Abbie’s mother pleaded with MHS to
reconsider, even on the morning of the graduation itself, but her request was
denied and Abbie was crushed, unable to participate in the graduation she had
worked for years to achieve, unable to be surrounded by her loving houseparents
and housemates one final time, and unable to deliver her cards she had so lovingly
and thoughtfully prepared.

133. MHS administrators took these affirmative jarring and negligent
steps that maximized Abbie’s pain, humiliation, and abuse on an already
psychologically vulnerable child just as her thought process was becoming more
positive, without thought as to the predictable consequences.

134. Dr. Herr had passionately argued in favor of making an exception to
the “two hospitalization” expulsion policy and instead granting Abbie a leave of
absence, due to her unique circumstances. Among other things, Dr. Herr stressed
the following reasons not to expel Abbie in an entry dated June 19, 2013 (but not
signed until July 31, 2013):

(1) “Abbie’s two hospitalizations were spaced less then a week
apart, and it’s unlikely that she was receiving much benefit
from antidepressant medication at the onset of second hospital

stay. For clinical purposes, it’s reasonable to consider her as
having one hospitalization;”

(2) “Abbie has never before received treatment. She has never
been given antidepressant medication before, she has never
received either individual or family therapy in the past. Her
capacities to benefit from this are unknown;”

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(3) “Abbie has manifested some progress, in the limited time I’ve
met with her” and “does manifest the ability to benefit from
counseling;”

(4) “Abbie is an excellent student;”

(5) “Abbie is a well-behaved student . . . the adults who have been
involved with her (teachers, principals, houseparents, HLA)
have all expressed strong positive feelings toward Abbie, and
have expressed a strong hope that she will be given the
opportunity to continue her enrollment;”

(6) “Abbie is motivated to return to MHS . . . she wants to graduate
from MHS, as she views this as the best route to a positive
future;” and

(7) “I believe her . . . record, and motivation present enough
positive prognostic indicators to grant her an opportunity to
return.”

135. All seven of these indicators are reasons why Abbie should have
remained at MHS, under the care and guidance of staff, rather than being turned
out and sent back to Newport, Pennsylvania, where 10 days later she would in fact
commit a suicide that otherwise could have been prevented. Tellingly, Abbie
took her own life after telling her brother she had cried all night, hated Newport,
and wanted to return to MHS, the place she viewed as home.
discarded by the milton hershey school, barred from her own graduation, and left

with no sense of hope for the future, ABBIE SUCCUMBS TO SUICIDE ON
JUNE 29, 2013
136. Although Dr. Herr had indicated that MHS was considering whether

to stop short of permanently expelling Abbie, by granting her a 12-month leave of

absence, his entreaties appear to have fallen on deaf ears, as no formal decision

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was ever reached on the point. Moreover, the terms that Abbie had to live up to
under any proposed leave were complex and unattainable and MHS certainly
knew so. For example, one of the terms required Abbie, then struggling with
depression and thoughts of death, to somehow promise to “be free of all
depressive symptoms and express zero suicidal ideation for a period of 6 months
prior to her leave review; this must be reported by all parties, including student,
legal guardian and therapist.” Such an absurd requirement could only have
encouraged this sensitive and intelligent child to dangerously internalize her
feelings and not express them, as her only way back to MHS would have been not
to think or, at least, not to express how she may have felt for a minimum of six
months. Thus, MHS would accept only a quick and miraculous recovery from
depression, unassisted by MHS’s vast resources.

137. After the phone call of June 20, 2013, Abbie had a complete and
overwhelming sense of hopelessness. She was emotionally devastated over not
being able to attend graduation with her dear friends, and she doubted very much
that she would ever be able to return to the structured and nurturing environment
of her MHS home. In other words, MHS had doomed Abbie to remain in the very
environment in which she felt most depressed, most alone, and was most likely to
precipitate her suicide, in flagrant disregard of the law, the School’s duties, and

recent promises made to the Department of Justice.

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138. Making Abbie’s treatment by MHS even more tragic, MHS staff met
on the morning of graduation and decided that if Abbie and her mother did
attempt to attend graduation, MHS would have let them do so, disproving any
claim MHS might have had that Abbie truly was a threat to the safety of other
children. Worse still, no one communicated this change of heart to Abbie or her
mother. So Abbie stayed home alone and off campus while her classmates
walked down the aisle and enjoyed a celebratory picnic without her.

139. Days later, on June 29, 2013, Abbie committed suicide by hanging
herself from the belt of her bathrobe at her father’s residence in Newport.

140. It is evident that after over nine years of near-perfect conduct and
academic success, MHS had given up on Abbie and gone into termination mode,
just weeks after the onset of an emotional episode.

141. For example, on June 10, 2013, MHS began to prepare Abbie and her
mother for a pre-ordained termination, stating “there were real questions about
whether MHS can meet [Abbie’s] needs.” A day later, Dr. Herr indicated “that
Middle Division will have questions about Abbie’s level of emotional needs.”
Thus, the more a long-term student/resident at MHS needs emotional support in
crisis, the less inclined MHS will be to retain him or her.

142. Just two days later, while Abbie was at PPI, Dr. Herr told Abbie’s

mother that an MHS staff meeting would be held on Friday, June 14, to determine

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Abbie’s future. The expulsion process and Enrollment Review was moving
forward with great speed.

143. In an entry made approximately two weeks after Abbie’s death, Dr.
Herr acknowledged that he was “less directly involved” in Abbie’s treatment after
she was admitted to PPI, because the expulsion “policy” dictated that “Abbie
could not immediately return to MHS after this second hospitalization.” Dr. Herr
further noted in the entry that problems with “many family stressors including
father’s alcoholism and legal difficulties, tensions between father and stepmother,
concerns about the emotional status of youngest brother, history of drug/alcohol
and legal involvement in both maternal and paternal line, history of mood
disorders in maternal line” were the major life events affecting Abbie’s mental
health diagnosis and treatment as of the time of her death. It is painfully clear that
MHS knew Abbie was more at risk of suicide in Newport than at MHS, but no
one would make that analysis for the record.

144. Despite these concerns, Abbie was turned away from MHS to return
to her parents on June 19, 2013. These are individuals with their own serious
struggles and who were unequipped to handle Abbie’s severe depression, no
matter how deeply they loved their child. After all, it was the sad realization that

Abbie was better off at MHS that had led them to enroll Abbie in the first place.

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145. Abbie’s loving father could only poke and tease Abbie in therapy
sessions, not imagining he could lose her. Her loving mother believed Abbie
could be talked out of her ideation and did not grasp the gravity. Ms. Fitzpatrick
similarly could not translate her love of Abbie into an effective shield against
depression.

146. Abbie was essentially told by MHS that she would have to recover
on her own, with no further assistance from MHS, the only place she knew as
home, from age 5 to 14. No “family,” and certainly not one with $12 billion of
resources and teams of trained professionals, would have been so negligent and
callous, without any regard for what their child would have to overcome on her
own, in a fragile, sometimes suicidal state. MHS’s actions were a virtual death
sentence to a vulnerable and sensitive child.

147. Abbie’s suicide was completely preventable. While Abbie was
barred from setting foot on campus, she never received a written termination
notice, and thus remained in the care of MHS until her death, as she anxiously
awaited word of her future, which never came. MHS, which Abbie viewed as her
family just as MHS adamantly encouraged, the family that had nurtured her and
watched her thrive, could have saved Abbie, by treating her with love,

compassion, and concern. MHS could and should have enveloped her in the

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cocoon of MHS, where she had been troubled only the last 2 months of her life,
but where she felt safe and had flourished for over nine years.

148. MHS professionals and administrators knew or should have known
the following about risks of suicide to Abbie on account of a depressive disorder,
and applied these concepts in their treatment of Abbie and the standard of care

required under these circumstances:

(a) A child with suicide ideation has a perception that she does not
belong, feels alienated from others, perceives herself as a burden to others, and
does not feel she is an integral part of a family, circle of friends, or other valued
group, all perceptions expressed by Abbie to MHS, and all perceptions that MHS
brought into sharp focus when it barred her from the MHS community;

(b) Abbie had many of the warning signs of suicide, ie.; ideation,
purposelessness, anxiety, agitation, feeling trapped, hopelessness, withdrawal,
mood fluctuations;

(c) Abbie’s emotional crisis, while temporary, interfered with logic and
planning during this critical period of May and June 2013;

(d) Abbie’s option of death began to tower over other options;

(e) Suicide is an act of profound loneliness and inconsequentiality, but
MHS compounded these feelings in Abbie by its treatment of her in June 2013;

(f) Ideation is usually accompanied by feeling insignificant, miserable or
misunderstood, as Abbie felt;

(g) The suicidal mind is characterized by ambivalence with competing
forces tugging at the individual from sides of both life and death. The life side of
the struggle is still active and still compelling the person to plan for life, just as
everyone else does, and as Abbie did;

(h) Extreme alienation from family and community is a robust predictor
of suicide, as are isolation, rejection and ostracism, all compounded by MHS
actions;

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(i) There was no point of no return for Abbie. She could have been
brought back from her break if surrounded by understanding and made to feel like
she belonged to her MHS community;

(j) | Connections to others become obliterated before suicide, aided in this
case by MHS actions to cut Abbie off from any contact;

(k) | Suicide can be prevented, and when it is, the person has an extremely
high likelihood of leading a productive life;

(1) There is a window of opportunity for others to intervene before
someone ends her life; one can nudge a deeply ambivalent person, who is tottering
on the precipice between life and death, back toward life. MHS negligently failed
in this respect.

(m) A suicidal person will question whether reliable social ties are there
and can be counted on. Much depends on the answer. If the answer is
understanding, life can prevail, if the answer is dismissive, it may not. MHS was
dismissive toward Abbie once it concluded on June 10, 2013 that it would not
allow her to return to MHS.

(n) The suicidal mind feels beaten down and demoralized to the point that
death becomes comforting; MHS conduct beat Abbie down in the last twenty (20)
days of her life.

(0) For suicide prevention, there is one common theme throughout
centuries of experience, it is the provision of human contact, the comfort of another
concerned person, often authoritative, conveying a message of hope. MHS
snatched that hope from Abbie.

All of this understanding of suicide is contained in the book “Myths About
Suicide” (University Press 2010), by Thomas Joiner, Distinguished Research
Professor and Bright-Burton Professor of Psychology at Florida State University
and author of “Why People Die by Suicide.”

149. MHS failed Abbie in nearly every respect from June 10, 2013, when

they first indicated her enrollment was in question until her death on June 29,

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2013. The exception was Abbie’s loving houseparents, who, sensing Abbie’s
extremely distressed mental state, visited her home for a private graduation
ceremony. These front line care-providers knew that Abbie needed far better care
and treatment than was exhibited by the MHS administration.

150. While Abbie already felt herself a burden to her financially strapped
and troubled parents, she was also made to feel like a burden to MHS, which had
ample resources to care for her, but chose not to use them on Abbie.

151. MHS heightened Abbie’s alienation, loneliness, and break with the
only community where she felt she belonged (MHS), and made her feel her future
would be hopeless without MHS. Thus, Abbie was made to feel that there was
no place where she belonged, and no place where she perceived herself not a
burden, as MHS knew she was not comfortable with her family, having even
eliminated overnight weekend visits with them. MHS obliterated Abbie’s
connections with friends and the MHS community, all she had known and relied
upon for comfort. She feared she could not count on her biological family for her
emotional needs, and now knew she could not count on her MHS family, who no
longer wanted to care for her.

152. MHS, with $12 billion of assets and a small army of mental health
professionals, made no assessment of how Abbie would fare back in Newport,

Pennsylvania, her address of residence with her jobless father on his way to prison

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and with a severe alcohol dependency. Instead, the message was “cure yourself,
we cannot help you, and if completely cured so that you will not cause us any
mental health issues, we might consider a return.” Even this last point was not
communicated to her by MHS, as the draft letter for a leave of absence sat
unsigned on someone’s desk at MHS.

153. Abbie’s tragic death due to MHS’s egregious conduct has already
received attention from national news media, most notably in a piece aired on
CNN’s Anderson Cooper 360 evening newscast. A true and correct copy of the
video file of that report is included on the CD attached hereto as Exhibit “K.”

154. While MHS conduct toward Abbie’s shocks the conscience, it is not
an isolated incident in the mental health policies of MHS.

155. For example, AD was enrolled in MHS in third grade in 2003, and
was by every account a model student, including being sent by MHS to
“enrollment fairs,” to help recruit other children.

156. But when AD experienced depression, MHS expelled him, just as his
11" grade year was ending. His housemother recognized the injustice done to
AD, but she could not assist him as doing so would have jeopardized her own
position and promising career as a poster child for MHS, having graduated herself

from the School.

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157. AD?’s circumstances were later so harrowing that at one point he
ended up in a homeless shelter, as a high school senior, with virtually nowhere to
turn.

158. KR, like Abbie, was an eighth grader when she too was expelled, and
again, merely for facing depression. KR’s post-expulsion mistreatment was also
cavalier and compounded the pain she felt.

159. On information and belief, there are many other children who have
been similarly mistreated by MHS for mental health issues, with the School and

its board members allowing this unlawful discrimination to continue unabated.

COUNT I- VIOLATION OF THE FAIR HOUSING ACT

Plaintiffs v. Defendants, The Milton Hershey School and The Hershey Trust
Company, as Trustee of the Milton Hershey School Trust

160. Plaintiffs incorporate by reference all of the preceding paragraphs of
this Complaint as if each was individually set forth at length within this Count.

161. Abbie met all of MHS’s eligibility criteria during her enrollment to
reside at the School.

162. MHS discriminated against Abbie by denying her housing at MHS
on the basis of her mental handicap.

163. The Defendants failed to investigate, engage in an interactive dialog
with, and/or offer any reasonable accommodations to Abbie, including, inter alia,
participation in the Year Round Experience or some form of further presence in

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MHS housing on the MHS campus following her release from PPI on June 19,
2013.

164. Instead, Defendants negligently, carelessly, intentionally and
recklessly permitted her to be returned to Newport, Pennsylvania, which
Defendants knew was, for Abbie, a dangerous situation for her then-existing
mental and emotional state.

165. Defendants further failed to accommodate Abbie’s attendance and
participation in her graduation ceremony and the related celebratory gathering
with her houseparents and friends.

166. Defendants negligently, carelessly, intentionally and_ recklessly
disinvited Abbie from these proceedings, and barred her from campus on the eve
of graduation, another perilous action in light of Abbie’s then-existing mental and
emotional state.

167. Abbie did not pose a direct threat to anyone such that the
Defendants’ conduct would be permissible under the FHA. Moreover, the
Defendants have never indicated when, how and to whom Abbie posed such a
direct threat, having failed to make any individualized assessment based on
reasonable judgment, relying on current medical knowledge, or on the best

available objective evidence.

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168. Defendants negligently, carelessly, intentionally and _ recklessly
applied a policy requiring expulsion after a student is twice admitted to an outside
mental health institution, including taking away a child’s housing, and barring the
child from stepping foot on campus or attending graduation ceremonies open to
the public. Rather than relying on current medical knowledge or the best available
evidence about adolescent depression or consulting with trained professionals at
Philhaven, PPI or MHS, the Defendants based their decisions on unfounded
assumptions, unwarranted fears, generalizations, prejudices, stereotypes and
myths about mental and emotional illnesses.

169. The Defendants denied Abbie continued residence at the School, the
right to participate in and benefit from the residential programs at the School, and
the right to other goods, services, facilities, privileges, advantages and
accommodations provided by the School based on her depression, anxiety and
other mental and emotional illnesses.

170. At all relevant times, Abbie had a mental impairment (diagnosed
mental and emotional illness) that substantially limited the operation of her major
bodily functions, as well as substantially limited other major life activities, such
that she was an individual with a handicap within the meaning of the FHA, 42

U.S.C. § 3602(h).

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171. In addition, Abbie’s medical records all note a diagnosis of a mental
impairment, such that they reflect that she was an individual with a handicap
within the meaning of the FHA.

172. Finally, the Defendants regarded Abbie as an individual with a
handicap within the meaning of the FHA.

173. Abbie is an aggrieved person as defined by the FHA, 42 U.S.C. §
3602(i)(1), and has suffered damages as a result of the Defendants’ discriminatory
conduct as described above.

174. Defendants’ discrimination was a direct and factual cause that led
Abbie to sustain severe emotional and psychological harm and humiliation, as
well as take her own life.

175. Abbie’s student home at MHS was a dwelling, as set forth in the
FHA, 42 U.S.C. § 3602(b).

176. Abbie, like all students enrolled at MHS and living in the student
homes on campus, were given chores and other tasks to do by their houseparents.
Theses chores and tasks were required, and constitute consideration for Abbie’s
residence in the student home.

177. Additional consideration for Abbie’s residence in the student home
was provided to the School by The Milton Hershey School Trust, which
contributed money, funding and other tangible consideration.

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178. As described above, Defendants have:

(a) | Discriminated against Abbie in the sale or rental, or otherwise
making unavailable or denying a dwelling to Abbie because of
her disability, in violation of the FHA, 42 U.S.C. § 3604(£)(1);

(b) Discriminated against Abbie in the terms, conditions, or
privileges of rental of a dwelling or in the provision of services
or facilities in connection with a dwelling, because of her
disabilities, in violation of the FHA, 42 U.S.C. § 3604(f)(2);

and

(c) Refused to make reasonable accommodations in their rules,
policies, practices or services, when such accommodations were
necessary to afford Abbie equal opportunity to use and enjoy
her dwelling, in violation of the FHA, 42 U.S.C. § 3604(f)(3).

(d) Afforded Abbie with an unequal benefit in regard to its offering
of goods, services, facilities, privileges, advantages or
accommodations on the basis of her disability, in violation of
42 U.S.C. § 12182(b)(1)(A)(ii) and 28 C.F.R. § 36.202(b).

179. Defendants’ discrimination was a direct and factual cause that led
Abbie to sustain severe emotional and psychological harm and to take her own
life. Defendants’ discrimination directly and proximately caused Abbie to sustain
severe emotional and psychological harm and to take her own life, as her fragile
mental state could not absorb the severing of her relationship with the MHS
community, her houseparents, teachers and classmates, and the lost opportunity
and hope that such severing meant to her, despite having given MHS over nine (9)
years of her best efforts and exemplary conduct.

180. Plaintiffs seek immediate injunctive relief which shall consist of,
inter alia, (a) creation by MHS of a therapeutic student home for the seriously

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depressed children in its care, with 24 hour professional coverage; (b)
appointment of an advocate for children to participate in all enrollment reviews;
and (c) a commitment to continue care for children suffering from a mental health
disability for a duration of at least twelve (12) months from diagnosis before any
decisions on termination are made.

181. Plaintiff also seeks the recovery of money damages, attorney’s fees,
litigation expenses and costs consistent with the FHA.

182. The discriminatory actions of the Defendants were intentional,
willful, and taken in disregard of Abbie’s federally protected rights.

COUNT II — NEGLIGENCE - BREACH OF DUTY OF CARE

Plaintiffs v. Defendants, The Milton Hershey School and The Hershey Trust
Company, as Trustee of the Milton Hershey School Trust

183. Plaintiffs incorporate by reference all of the preceding paragraphs of
this Complaint as if each was individually set forth at length within this Count.

184. An affirmative duty on the Defendants’ part to care for Abbie and
protect her from harm arose from the special custodial relationship that existed
between Defendants and Abbie.

185. Specifically, and as described at length above, through its “unique,
home-like environment,” the Defendants, by and through their agents, servants
and employees, exercised custody and control over its enrolled students, such as

Abbie. At all relevant times, MHS functioned as Abbie’s primary caregiver,

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providing education, housing, food, clothing and medical, dental and
psychological care. In these and other ways, Abbie was dependent on the
Defendants to meet her basic needs of sustenance, care and protection. Moreover,
the Defendants had imposed limitations on Abbie’s freedom to act on her own
behalf and has deprived Abbie of her normal opportunities for protection.

186. In addition to the above, the Defendants, by and through their agents,
servants and employees, further exercised custody and control over Abbie by
requiring Abbie to submit to in-patient admissions at both Philhaven and PPI.

187. For all of these reasons, the Defendants owed Abbie a special and
higher duty of care, in addition to a duty of ordinary care, to protect her from
harm.

188. The Defendants, by and through their agents, servants and
employees, breached the duty arising by virtue of their special relationship with
Abbie in ways which include, but are not limited to, the following:

(1) By requiring that Abbie be admitted to two mental institutions
so that MHS could effectuate its two institution expulsion

policy and also scale back the medical care being provided by
MHS staff;

(2) By permitting Abbie to be discharged from PPI directly to her
parents’ rather than maintaining custody over Abbie at MHS.
For example, MHS could have, but did not, require or otherwise
invite Abbie to return to the MHS campus to participate in the
Year Round Experience over the summer of 2013. Nor did
MHIS offer any other options that would permit Abbie to remain

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(4)

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on the MHS campus for observation and/or further treatment
immediately following her discharge from PPI;

By failing to develop a care plan for Abbie before she was
discharged to her parents;

By failing to provide adequate medical care to Abbie prior to
her discharge from PPI and, specifically, during her time at PPI,
when Dr. Herr admitted to taking a more limited role in Abbie’s
treatment due to the expulsion policy and related likelihood that
Abbie would not be permitted to return to MHS — during the
very time that Abbie was receiving intense therapy at PPI for
her suicidal ideations, suffered from low self-esteem and
teetered in the precipice of life or death;

By holding out the threat of expulsion and/or a forced leave of
absence; and

By dis-inviting Abbie from her graduation ceremony and
related celebration on the eve of graduation.

189. Defendants had a further duty to protect Abbie because they created

or exacerbated a dangerous situation as described in the preceding paragraph,

including by (a) first caring for her in a supportive environment for over nine (9)

years and then deserting her when she needed MHS the most; and (b) then

inviting and disinviting her from graduation events. Defendants breached that

duty by failing to protect Abbie in June of 2013.

190. Defendants had a further duty to protect Abbie because MHS

withdrew critical, life-saving support after partially performing, and after Abbie

had relied upon MHS’s care and assistance to the exclusion of other alternative

assistance.

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191. Defendants had a further duty to protect Abbie because MHS took
charge of Abbie, who was helpless to adequately aid or protect herself, but then
discontinued its aid and protection, thereby leaving Abbie in a worse position than
when MHS took charge of Abbie in the first place.

192. Abbie was significantly damaged by all of these breaches by the
Defendants, mentally, emotionally, physically and monetarily.

193. As a result of the above-described conduct, Abbie suffered
significant mental, emotional and physical harm, including, but not limited to,
severe mental anguish, emotional distress, physical manifestations of emotional
distress, embarrassment, loss of self-esteem, disgrace, humiliation, and loss of
enjoyment of life, conscious pain and suffering and her tragic death; and/or Abbie
has been denied at least $400,000 worth of education at MHS and $80,000 of
post-secondary education benefits.

194. All of these damages were foreseeable to the Defendants because at
the time of each breach described above, the Defendants knew or should have
known that remaining in the supportive environment of MHS was essential for
Abbie’s well-being and survival given her then-existing fragile mental state.
Moreover, the Defendants knew or should have known that Abbie’s parents
lacked financial resources and were otherwise unable to provide her with the type

of psychological care that she needed at the time of her discharge from PPI.

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Finally, the Defendants also knew or should have known that disinviting Abbie
from graduation ceremonies and celebrations and barring her from campus would
have a devastating effect on Abbie due to her fragile emotional state.

195. The specific harm of suicide was foreseeable to the Defendants
because of their knowledge of both (1) Abbie’s prior documented attempts of
suicide and suicidal ideation and (2) her taking of Zoloft at the time of her
discharge from PPI, which was another factor requiring extensive care, continued
monitoring and treatment.

196. The aforementioned conduct by Defendants was negligent, careless,
intentional, reckless, willful and malicious such that punitive damages are further
warranted.

COUNT V—- WRONGFUL DEATH
Plaintiffs, Julie Ellen Wartluft and Frederick L. Bartels, Jr. v. Defendants,

The Milton Hershey School and The Hershey Trust Company, as Trustee of
the Milton Hershey School Trust

197. Plaintiffs incorporate by reference all of the preceding paragraphs of
this Complaint as if each was individually set forth at length within this Count.

198. Abbie is survived by her parents Julie Ellen Wartluft and Frederick
L. Bartels, Jr.

199. The aforementioned negligent, careless, intentional and reckless

conduct of the Defendants caused Abbie to endure a mental illness with such

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despair that it directly resulted in her completion of what was a preventable
suicide.

200. By reason of the death of Abbie, as caused by the aforementioned
wrongful acts, neglect or negligence of the Defendants, Abbie’s parents have in
the past and will in the future continue to suffer great pecuniary loss, including,
but not limited to, loss of support, loss of aid, loss of services, loss of
companionship, loss of consortium and comfort, loss of counseling and loss of
guidance.

201. The aforementioned conduct by Defendants was negligent, careless,
intentional, reckless, willful and malicious such that punitive damages are further
warranted.

202. Plaintiffs Julie Ellen Wartluft and Frederick L. Bartels, Jr. as parents
of Abbie and Administrators of the Estate of Abrielle Kira Bartels, Deceased,
bring this action by virtue of the Wrongful Death Act, 42 Pa.C.S.A. § 8301 and
claim all benefits and recoverable damages under the Wrongful Death Act on
behalf of all other persons entitled to recover under law.

COUNT VI-— SURVIVAL ACT

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Plaintiff, the Estate of Abrielle Kira Bartels v. Defendants, The Milton
Hershey School and The Hershey Trust Company, as Trustee of the Milton

Hershey School Trust

203. Plaintiffs incorporate by reference all of the preceding paragraphs of

this Complaint as if each was individually set forth at length within this Count.

204. The damages suffered by the Estate of Abrielle Kira Bartels,

Deceased by reason of the death of Abbie include, but are not limited to, the

following:

(1)

the severe injuries to Abbie, which resulted in her death by

asphyxiation;

(2)

(3)

(4)

the anxiety, horror, fear of impending death, mental
disturbance, pain, suffering and other intangible losses which
Abbie suffered prior to her death;

the loss of future earning capacity suffered by Abbie from the
date of her death until the time in the future that she would have
lived had she not died as a result of the injuries she sustained;
and

the loss and the total limitation and deprivation of her normal
activities, pursuits and pleasures from the date of her death until
such time in the future as she would have lived had she not died
as a result of the injuries sustained by reason of the
carelessness, recklessness, negligence and gross negligence of
defendants.

205. Plaintiffs bring this action on behalf of the Estate of Abrielle Kira

Bartels, Deceased, by virtue of the Survival Act, 42 Pa.C.S.A. § 8302, and claims

all benefits of the Survival Act on behalf of the Estate of Abrielle Kira Bartels,

Deceased, and other persons entitled to recover under law.

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COUNT VII - NEGLIGENT MISREPRESENTATION

Plaintiffs v. Defendants, The Milton Hershey School and The Hershey Trust
Company, as Trustee of the Milton Hershey School Trust

206. Plaintiffs incorporate by reference all of the preceding paragraphs of

this Complaint as if each was individually set forth at length within this Count.

207. Defendants, through their employees and agents, represented to

Plaintiff and her family the following things:

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(1)

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(7)

MHS does not discriminate against applicants or students on the
basis of any disability;

students with any sort of disabilities have an equal opportunity
to participate in or benefit from the goods, services, facilities,
privileges, advantages, and accommodations provided by the
School;

students cannot have their enrollment discontinued solely on
the basis of their disability;

MHS does not exclude persons with disabilities from
participation in, or deny them the benefits of, the full and equal
enjoyment of its goods, services, facilities, privileges,
advantages or accommodations on the basis of their disability;

MHS makes reasonable modifications to its policies, practices
and procedures when the modification are necessary to afford
goods, services, facilities, privileges, advantages, or
accommodations to individuals with any sort of disabilities;

MHS develops and implements individualized plans for
disabled students to ensure that MHS is able to accommodate
those students at the School; and

MHS has developed and provided mandatory and
comprehensive training on the ADA, and specifically on Title
III of the ADA, to all staff and administrators.

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208. Defendants, through their employees and agents, also represented to
Plaintiff and her family that MHS provided a “comprehensive array” of
psychological services to students, including “individual and group therapy,
psychological and psychoeducational assessments, consultation, staff training,

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crisis intervention and prevention,” and that the “type of psychological service
provided for a student is dependent on the individual student’s need.”

209. Each of these representations was material and false as to Abbie and
others.

210. In addition to the representations being made directly to Abbie,
Defendants, through their officials, made these representations to Abbie’s parents
and caregivers with knowledge and intent that they would be communicated to
and relied upon by Abbie through words and actions.

211. Defendants’ representations to Abbie, Plaintiffs and their family
began in April of 2003 and continued until June of 2013.

212. Defendants should have known that their representations were false
when made.

213. Defendants reasonably should have foreseen that these

representations would subject Abbie to an unreasonable risk of harm.

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214. Abbie and her parents and caregivers believed and justifiably relied
upon Defendants’ representations, which caused her to succumb to suicide and to
suffer the other damages described herein.

215. Abbie’s injuries were proximately caused by her reliance on the
representations.

216. The aforementioned conduct by Defendants was negligent, careless,
intentional, reckless, willful and malicious such that punitive damages are further
warranted.

217. The above-described conduct directly caused Abbie significant
mental, emotional and physical harm, including, but not limited to, severe mental
anguish, emotional distress, physical manifestations of emotional distress,
embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment
of life, conscious pain and suffering and her tragic death and has denied Abbie at
least $400,000 worth of education at MHS and $80,000 of post-secondary
education benefits.

COUNT VII - INTENTIONAL MISREPRESENTATION

Plaintiffs v. Defendants, The Milton Hershey School and The Hershey Trust
Company, as Trustee of the Milton Hershey School Trust

218. Plaintiffs incorporate by reference all of the preceding paragraphs of

this Complaint as if each was individually set forth at length within this Count.

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219. Defendants knew that the material representations set forth in Count
VII above made by Defendants, through their employees and agents, to Plaintiff
and her family and caregivers were false when made or, alternatively, acted with
reckless disregard as to the truth or falsity of such representations.

220. Plaintiff believed and justifiably relied upon Defendants’
representations, which caused her to succumb to suicide and to suffer the other
damages as more particularly described herein.

221. Upon information and _ belief, Defendants made the
misrepresentations with the intent to deceive Plaintiff and to induce her and her
family members and caregivers to act on the misrepresentations to their detriment
and harm.

222. Abbie’s damages and injuries were proximately caused by her
reliance on the representations such that Defendants actions were a factual cause
of her death.

223. The aforementioned conduct by Defendants was negligent, careless,
intentional, reckless, willful and malicious such that punitive damages are further
warranted.

224. The above-described conduct directly caused Abbie significant
mental, emotional and physical harm, including, but not limited to, severe mental

anguish, emotional distress, physical manifestations of emotional distress,

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embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment
of life, conscious pain and suffering and her tragic death and has denied Abbie at
least $400,000 worth of education at MHS and $80,000 of post-secondary
education benefits.

COUNT IX - INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

Plaintiffs v. Defendants, The Milton Hershey School and The Hershey Trust
Company, as Trustee of the Milton Hershey School Trust

225. Plaintiffs incorporate by reference all of the preceding paragraphs of
this Complaint as if each was individually set forth at length within this Count.

226. By acting in conscious disregard of the findings of the Department of
Justice as set forth in the ADA Settlement Agreement and in conscious disregard
of the anti-discrimination requirements set forth in both the Equal Opportunity
Policy and the ADA, Defendants did by extreme and outrageous conduct
intentionally or recklessly cause severe emotional distress and bodily harm to
Abbie.

227. Defendants’ conduct in holding out its premises as a_ safe
environment for young children with mental impairments when it had reason to
know the School could be a dangerous place for children such as Abbie due to the
School’s discriminatory treatment of students with disabilities, constitute extreme
and outrageous conduct that was atrocious and went beyond all bounds of

decency such that it is conduct utterly intolerable in a civilized society.

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228. Defendants acted extremely and outrageously in threatening to expel
Abbie on the basis of her mental impairments at the very time when she was the
most fragile, including while a patient at PPI undergoing therapy and seeing life
as hopeless except for MHS, and despite the fact that Defendants purportedly
provided a vast array of psychological and psychiatric services, including, but not
limited to, crisis intervention.

229. Defendants’ rescission of the invitations to Abbie and her family to
graduation events that she had earned for no valid reason was negligent,
discriminatory, outrageous and callous and an action that MHS knew would cause
her severe and unnecessary emotional distress.

230. Defendants’ conduct intentionally and/or recklessly caused Abbie
and Plaintiffs severe physical and emotional distress, including severe mental
anguish and horror, because the natural and probable consequences of Abbie’s
proposed expulsion from the School was Abbie’s emotional distress.

COUNT X - NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

Plaintiffs v. Defendants, The Milton Hershey School and The Hershey Trust
Company, as Trustee of the Milton Hershey School Trust

231. Plaintiffs incorporate by reference all of the preceding paragraphs of
this Complaint as if each was individually set forth at length within this Count.
232. Defendants, by and through their agents, servants and employees,

knew or reasonably should have known of the dangerous conditions that existed

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by virtue of the School’s discriminatory treatment of students with disabilities and
their exclusion from campus events such as graduation ceremonies and
celebrations.

233. Defendants, by and through their agents, servants and employees,
knew or reasonably should have known that Abbie was being discriminated
against by virtue of the School’s custom, practice or policy requiring the
expulsion of students suffering with mental impairments.

234. Defendants breached the duty of care owed to Abbie by failing to
protect her from foreseeable pain and suffering related to her proposed expulsion
from MHS and the revocation of invitations for eighth grade graduation events.

235. Defendants’ conduct resulted Abbie suffering severe physical and
emotional distress, including severe mental anguish and horror.

COUNT XI - CIVIL CONSPIRACY TO ENDANGER CHILDREN

Plaintiffs v. Defendants, The Milton Hershey School and The Hershey Trust
Company, as Trustee of the Milton Hershey School Trust

236. Plaintiffs incorporate by reference all of the preceding paragraphs of
this Complaint as if each was individually set forth at length within this Count.

237. Defendant The Milton Hershey School and The Hershey Trust
Company, along with individual members of the Board of Managers not presently
named as defendants and senior MHS administrators, acted with a common

purpose, and conspired to endanger the welfare of children, including Abbie, in

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violation of Pennsylvania law by continuing dangerous discriminatory policies
unbeknownst to the public and contrary to their public pronouncements.

238. In Pennsylvania, there is an implied civil cause of action for
endangering the welfare of children by a child whose welfare was endangered.

239. Also in Pennsylvania, there is a civil cause of action for negligence
per se for violation of the statute against endangering the welfare of children.

240. Abbie has standing to bring this claim because she was one of the
children who was discriminated against as a result of this conspiracy to endanger
the welfare of children.

241. Members of the Trust/MHS boards and senior leadership at the
School had or should have had information that discriminatory customs, practices
and policies were still in place and/or that the anti-discrimination requirements set
forth in the ADA Settlement Agreement, the Equal Opportunity Policy and the
Handbook had not been enacted, enforced or abided by, and that MHS mental
health policies, procedures and practices were dangerous.

242. The decision to continue discriminatory customs, practices and
policies and the collective silence of various individuals at MHS in addition to
Defendants were overt acts committed in pursuance of the common purpose to
endanger the welfare of children, concealed from Abbie the unsafe living

environment.

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243. These decisions and their concealment directly injured Abbie
because it caused Abbie and her family and caregivers to keep Abbie enrolled at
the School to endure further discrimination.

244. The above-described conduct directly caused Abbie significant
mental, emotional and physical harm, including, but not limited to, severe mental
anguish, emotional distress, physical manifestations of emotional distress,
embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment
of life, conscious pain and suffering and her tragic death and has denied Abbie at
least $400,000 worth of education at MHS and $80,000 of post-secondary
education benefits.

COUNT XII — BREACH OF THE FIDUCIARY DUTIES OF CARE AND
GOOD FAITH

Plaintiffs v. Defendants, The Milton Hershey School and The Hershey Trust
Company, as Trustee of the Milton Hershey School Trust

245. Plaintiffs incorporate by reference all of the preceding paragraphs of
this Complaint as if each was individually set forth at length within this Count.

246. Defendants owed Abbie fiduciary duties of care and good faith to
provide a safe environment for all children in their care, requiring them to
exercise the kind of reasonable inquiry, skill and diligence that a person of
ordinary prudence would use in overseeing the care of young at-risk children and

protecting them from known dangers.

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247. Officers and key employees of Defendants also have a fiduciary
relationship with the School and School Trust which requires that they act in good
faith with regard to the School and School Trust’s best interests, and also requires
that they apply the highest moral, legal, and ethical standards in their conduct.

248. Defendants breached their duties by: (1) failing to appoint residential
childcare and mental health experts to their boards; (2) failing to hire qualified
senior MHS administrators; (3) failing to implement policies or institutional
controls that would prevent incidents of discrimination against disabled students
and allow identification of such abuse once it had occurred; (4) not following
through on the ADA Settlement Agreement, the Equal Opportunity Policy or the
Handbook by, among other things, failing to properly train staff and
administrators on the requirements of Title III of the ADA; and (5) failing to
monitor and comply with the ADA Settlement Agreement, the Equal Opportunity
Policy, the Handbook and/or Title II of the ADA.

249. Defendants, by and through their agents, servants and employees, as
signatories to the ADA Settlement Agreement, and authors of the Equal
Opportunity Policy and the Handbook, knew or reasonably should have known of
the dangerous conditions that existed on campus by virtue of the active

discrimination against disabled children.

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250. Defendants all knew of the numerous prior instances of
discrimination against disabled students, and yet, indefensibly given this history,
intentionally subjected Abbie to the discriminatory custom, practice and/or policy
requiring the expulsion of students suffering with mental impairments.

251. Based on the explicit findings of the ADA Settlement Agreement,
Abbie’s documented history of mental impairment and literature in the field of
depression, it was reasonably foreseeable and, indeed, completely predictable,
that if Defendants did not adequately exercise or provide the duty of care owed to
young children suffering with mental impairments in their care, including but not
limited to Abbie, those children would be vulnerable to emotional, mental and
physical harm.

252. The aforementioned conduct by Defendants was negligent, careless,
intentional, reckless, willful and malicious, and as to the Trustee, constituted a
breach of trust, such that punitive damages are further warranted.

253. The above-described conduct directly caused Abbie significant
mental, emotional and physical harm, including, but not limited to, severe mental
anguish, emotional distress, physical manifestations of emotional distress,
embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment

of life, conscious pain and suffering and her tragic death and/or has denied Abbie

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at least $400,000 worth of education at MHS and $80,000 of post-secondary
education benefits.
COUNT XIII — NEGLIGENCE PER SE

Plaintiffs v. Defendants, The Milton Hershey School and The Hershey Trust
Company, as Trustee of the Milton Hershey School Trust

254. Plaintiffs incorporate by reference all of the preceding paragraphs of
this Complaint as if each was individually set forth at length within this Count.

255. Defendants have violated the ADA and the FHA.

256. The purpose of these statutes, at least in part, is to protect the interest
of Abbie, as she is an intended beneficiary of both statutes.

257. The aforementioned statutes clearly apply to the conduct of the
Defendants in this case.

258. As described above, the Defendants have violated these statutes,
which is negligence per se.

259. The violation of these statutes has directly caused Abbie significant
mental, emotional and physical harm, including, but not limited to, severe mental
anguish, emotional distress, physical manifestations of emotional distress,
embarrassment, loss of self-esteem, disgrace, humiliation, and loss of enjoyment
of life, conscious pain and suffering and her tragic death (and related Wrongful
Death Act and Survival Act damages), and has denied Abbie at least $400,000

worth of education at MHS and $80,000 of post-secondary education benefits.

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PRAYER FOR RELIEF

WHEREFORE, Plaintiffs request the following relief:

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(a)

(b)

(d)

(e)

(f)

(g)

(h)

A permanent injunction, or in the alternative an order, requiring
that Defendants, their agents and employees abide by and
comply in all respects with the terms of the FHA, the ADA and
the ADA Settlement Agreement;

A permanent injunction, or in the alternative an order, requiring
that Defendants, their agents and employees develop and
implement a written anti-discrimination policy, insuring that no
student will be expelled or otherwise discriminated against
because of his or her mental impairment in the future;

A permanent injunction, or in the alternative an order, requiring
that Defendants, their agents and employees conduct mandatory
School-wide sensitivity training for all staff regarding
depression and other mental impairments;

A permanent injunction, or in the alternative an order, requiring
that Defendants create a therapeutic student home for the
seriously depressed children in its care, with 24 hour
professional coverage;

A permanent injunction, or in the alternative an order, requiring
that Defendants appoint an advocate for children to participate
in all enrollment reviews;

A permanent injunction, or in the alternative an order, requiring
that Defendants provide a commitment and assurance to
continue care for children suffering from a mental health
disability for a duration of at least twelve (12) months from
diagnosis before any decisions on termination or enrollment are
made;

Actual and punitive damages, attorney’s fees, litigation
expenses and costs consistent with 42 U.S.C. § 3613;

Compensatory and actual damages to the Estate of Abrielle
Kira Bartels, Deceased and to Julie Ellen Wartluft and
Frederick L. Bartels, Jr. in an amount to be determined at trial;

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(i) Wrongful death damages to Julie Ellen Wartluft and Frederick
L. Bartels, Jr. in an amount to be determined at trial;

(j) | Survival damages to the Estate of Abrielle Kira Bartels in an
amount to be determined at trial;

(k) Punitive damages in an amount to be determined at trial;

(1) | Cost and reasonable attorney’s fees; and

(m) Such other and further relief as this Court deems just and

proper.

Dated: October 25, 2016

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Respectfully submitted:

/s/ Gregory F. Cirillo

 

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